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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA



   In re: Oil Spill by the Oil Rig                              MDL No. 2179
          “Deepwater Horizon” in the Gulf
          of Mexico, on April 20, 2010
                                                                SECTION: J
   This Document Relates to:
                                                                JUDGE BARBIER
   All Cases in Pleading Bundle B3
                                                                MAGISTRATE SHUSHAN


    PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANT LANE
AVIATION’S MOTION FOR SUMMARY JUDGMENT ON DERIVATIVE IMMUNITY
                    AND PREEMPTION GROUNDS


        Plaintiffs respectfully submit this Memorandum of Law in Opposition to Clean-Up

Responder Defendant Lane Aviation, Inc.’s Motion for Summary Judgment on Derivative

Immunity and Preemption Grounds [Doc 6597], supplementing, (and incorporating fully),

Plaintiffs’ Omnibus Memorandum in Opposition to Defendants’ Motions for Summary Judgment

on Derivative Immunity and Preemption Grounds [Doc 6696].

        Lane Aviation, Inc. (“Lane”) was one of several private contractors that participated in

the massive response to the Deepwater Horizon well blowout and subsequent oil spill. Lane did

not contract directly with the government. It did, however, participate in the aerial application of

the chemical dispersant Corexit. [See Ex. 1 to Lane’s Motion for Summary Judgment, Doc.

6597-1.] In total, Lane sprayed over 14,000 gallons of dispersant in approximately two months’

time. 1 [Id.]


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      Lane’s motion for summary judgment is not accompanied by a statement of facts, as required by
Local Rule 56.1. Accordingly, Plaintiffs do not submit a counter-statement of facts responding to Lane’s
statement. However, Plaintiffs herein incorporate and rely upon the Local Rule 56.2 statement filed on
June 18, 2012, [see Doc. 6696-1].
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       For the reasons set forth in Plaintiffs’ Omnibus Memorandum in Opposition to

Defendants’ Motions for Summary Judgment on Derivative Immunity and Preemption Grounds

[Doc 6696], Plaintiffs contend that Lane—and other contractors involved in the aerial

application of dispersant chemicals—are not entitled to summary judgment.

       During the response, these Defendants acted negligently and exceeded the scope of any

authority that may have been conferred by the federal government. Accordingly, neither Lane

nor any similarly situated Clean-Up Responder Defendant is entitled to summary judgment.


       This 25th day of June, 2012.


Respectfully Submitted,



       /s/ Stephen J. Herman                         /s/ James Parkerson Roy
Stephen J. Herman, La. Bar No. 23129          James Parkerson Roy, La. Bar No. 11511
HERMAN HERMAN & KATZ LLC                      DOMENGEAUX WRIGHT ROY
820 O’Keefe Avenue                                 & EDWARDS LLC
New Orleans, Louisiana 70113                  556 Jefferson Street, Suite 500
Telephone: (504) 581-4892                     Lafayette, Louisiana 70501
Fax No. (504) 569-6024                        Telephone: (337) 233-3033
E-Mail: sherman@hhkc.com                      Fax No. (337) 233-2796
                                              E-Mail: jimr@wrightroy.com

Co-Liaison Counsel                            Co-Liaison Counsel




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                      PLAINTIFFS’ STEERING COMMITTEE


Joseph F. Rice                           Conrad S.P. “Duke” Williams
MOTLEY RICE LLC                          WILLIAMS LAW GROUP
28 Bridgeside Blvd.                      435 Corporate Drive, Suite 101
Mount Pleasant, SC 29464                 Maison Grand Caillou
Office: (843) 216-9159                   Houma, LA 70360
Telefax: (843) 216-9290                  Office: (985) 876-7595
E-Mail: jrice@motleyrice.com             Telefax: (985) 876-7594
                                         E-Mail: duke@williamslawgroup.org

Brian H. Barr                            Robin L. Greenwald
LEVIN, PAPANTONIO, THOMAS,               WEITZ & LUXENBERG, PC
MITCHELL, ECHSNER & PROCTOR, PA          700 Broadway
316 South Baylen St., Suite 600          New York, NY 10003
Pensacola, FL 32502-5996                 Office: (212) 558-5802
Office: (850) 435-7045                   Telefax: (212) 344-5461
Telefax: (850) 436-6187                  E-Mail: rgreenwald@weitzlux.com
E-Mail: bbarr@levinlaw.com

Jeffrey A. Breit                         Rhon E. Jones
BREIT DRESCHER IMPREVENTO &              BEASLEY, ALLEN, CROW, METHVIN,
WALKER, P.C.                             PORTIS & MILES, P. C.
999 Waterside Drive, Suite 1000          218 Commerce St., P.O. Box 4160
Norfolk, VA 23510                        Montgomery, AL 36104
Office: (757) 670-3888                   Office: (334) 269-2343
Telefax: (757) 670-3895                  Telefax: (334) 954-7555
E-Mail: jbreit@bdbmail.com               E-Mail: rhon.jones@beasleyallen.com

Elizabeth J. Cabraser                    Matthew E. Lundy
LIEFF, CABRASER, HEIMANN &               LUNDY, LUNDY, SOILEAU & SOUTH,
BERNSTEIN, LLP                           LLP
275 Battery Street, 29th Floor           501 Broad Street
San Francisco, CA 94111-3339             Lake Charles, LA 70601
Office: (415) 956-1000                   Office: (337) 439-0707
Telefax: (415) 956-1008                  Telefax: (337) 439-1029
E-Mail: ecabraser@lchb.com               E-Mail: mlundy@lundylawllp.com




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Philip F. Cossich, Jr.                     Michael C. Palmintier
COSSICH, SUMICH, PARSIOLA &                deGRAVELLES, PALMINTIER,
TAYLOR                                     HOLTHAUS & FRUGE’
8397 Highway 23, Suite 100                 618 Main Street
Belle Chasse, LA 70037                     Baton Rouge, LA 70801-1910
Office: (504) 394-9000                     Office: (225) 344-3735
Telefax: (504) 394-9110                    Telefax: (225) 344-0522
E-Mail: pcossich@cossichlaw.com            E-Mail: mpalmintier@dphf-law.com

Robert T. Cunningham                       Paul M. Sterbcow
CUNNINGHAM BOUNDS, LLC                     LEWIS, KULLMAN, STERBCOW &
1601 Dauphin Street, P. O. Box 66705       ABRAMSON
Mobile, AL 36660                           601 Poydras Street, Suite 2615
Office: (251) 471-6191                     New Orleans, LA 70130
Telefax: (251) 479-1031                    Office: (504) 588-1500
E-Mail: rtc@cunninghambounds.com           Telefax: (504) 588-1514
                                           E-Mail: sterbcow@lksalaw.com

Alphonso Michael “Mike” Espy               Scott Summy
MORGAN & MORGAN, P.A.                      BARON & BUDD, P.C.
188 East Capitol Street, Suite 777         3102 Oak Lawn Avenue, Suite 1100
Jackson, MS 39201                          Dallas, TX 75219
Office: (601) 949-3388                     Office: (214) 521-3605
Telefax: (601) 949-3399                    Telefax: (214) 599-1172
E-Mail: mike@mikespy.com                   E-Mail: ssummy@baronbudd.com

Calvin C. Fayard, Jr.                      Mikal C. Watts (PSC)
FAYARD & HONEYCUTT                         WATTS GUERRA CRAFT, LLP
519 Florida Avenue, SW                     Four Dominion Drive, Building 3, Suite 100
Denham Springs, LA 70726                   San Antonio, TX 78257
Office: (225) 664-4193                     Office: (210) 447-0500
Telefax: (225) 664-6925                    Telefax: (210) 447-0501
E-Mail: calvinfayard@fayardlaw.com         E-Mail: mcwatts@wgclawfirm.com

Ervin A. Gonzalez
COLSON HICKS EIDSON
255 Alhambra Circle, Penthouse
Coral Gables, FL 33134
Office: (305) 476-7400
Telefax: (305) 476-7444
E-Mail: ervin@colson.com




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                               CERTIFICATE OF SERVICE

        WE HEREBY CERTIFY that the above and foregoing Memorandum has been served on All
Counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance with
Pretrial Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of
the United States District Court for the Eastern District of Louisiana by using the CM/ ECF
System, which will send a notice of electronic filing in accordance with the procedures
established in MDL 2179, on this 25th day of June, 2012.


                                     s/ James Parkerson Roy and Stephen J. Herman




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